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                 EXHIBIT B-104
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                                                                                    FILED IN OFFICE


                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

IN THE MATIER OF SEALED
DOCUMENTS                                             cAsE 2022Ex      Oo 12-1q


   STANDING ORDER REGARDING THE SEALING OF WARRANTS, WARRANT
     AFFIDAVITS, WARRANT RETURNS, AND NON-DISCLOSURE ORDERS

       The District Attorney of Fulton County is conducting a criminal investigation into alleged

interference with the 2020 general election in Georgia. To date, this investigation has involved

subpoenas, grand jury testimony, and intense public scrutiny. The District Attorney's Office is

now seeking to obtain and execute a series of search warrants, the affidavits for which are

predicated on sensitive information acquired during the investigation.       The Court finds that

disclosure of this information could compromise the investigation by, among other things, causing

flight from prosecution, destruction of or tampering with evidence, and intimidation of potential

witnesses.   Some disclosures could also substantially risk the safety and wellbeing of the

individuals involved in the investigation including, but not limited to, witnesses, subjects, law

enforcement officers, and officers of the Court.

       The undersigned finds that the District Attorney's compelling interest in protecting the

ongoing investigation into possible criminal electoral interference is sufficient to justify sealing

the investigative documents covered by this Standing Order. See United States v. Valenti, 987

F.2d 70, 714 (1 I th Cir. 1993); In re Four Search Warrants, 945 F. Supp. 1563 (N.D. Ga. 1996).

The undersigned additionally finds that such investigative documents "are not subject to disclosure

under [Uniform Superior Court Rule] 21 because they do not fall within that which USCR 21

embodies: they are not court records to which the public and press in Georgia have traditionally



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enjoyed access." In re Gwinnett Cnty. Grand Jury, 284 Ga. 510, 512 (2008). Rather, they are

sensitive investigative records the disclosure of which could compromise the District Attorney's

work at this time.

       THEREFORE, unless otherwise directed by the undersigned judge, the Clerk of Fulton

County Superior Court shall ensure that there is no public access, either in paper or electronic

form, to the following documents filed under this ex parte case, 2022EX    00 / 2-7q
            1. Search and seizure warrants, supporting affidavits, returns, and related papers,

               whether executed or unexecuted; and

           2. All applications and nondisclosure orders issued under 18 § U.S.C. 2705(b) and

               related papers.

       The Clerk of Court shall file the documents listed above -- and only the documents listed

above -- under seal without need for a motion to seal or a certification by counsel (and shall, upon

request, provide a copy to the filing party). These documents shall remain sealed until otherwise

ordered by the Court, although a party to a criminal case lawfully possessing a sealed document

relevant to that criminal case may disclose it to any opposing parties under the law and rules

applicable to criminal discovery without further order of the Court.

        SO ORDERED this 3rd day of October 2022.




                                                           RNEY
                                      SUPERIOR COURT OF FULTON COUNTY
                                      ATLANTA JUDICIAL CIRCUIT




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